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                                  UNITED STATES DISTRICT COURT
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                                         DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                    )
 9                                                )
                    Plaintiff,                    )         2:09-cr-132-RLH-RJJ
10                                                )
     vs.                                          )
11                                                )
     GINGER GUTIERREZ,                            )               ORDER
12                                                )
                    Defendant,                    )
13                                                )
14          This matter was submitted to the undersigned Magistrate Judge on a Stipulation to
15   Continue Hearing on Motion to Compel Discovery (#138).
16          The Court having reviewed the Motion (#138) and the Joinders (#139, #140, #141 and
17   #142) and good cause appearing therefore,
18          IT IS HEREBY ORDERED that all Joinders to the Motion to Compel are GRANTED.
19          IT IS FURTHER ORDERED that the Stipulation to Continue Hearing on Motion to
20   Compel Discovery (#138) is GRANTED.
21          IT IS FURTHER ORDERED that the hearing scheduled for March 11, 2011, at 1:30 PM
22   is VACATED and RESCHEDULED to May 3, 2011, at 1:30 PM in LV courtroom 3D, 3d floor,
23   Lloyd D. George United States Courthouse, 333 Las Vegas Blvd. So., Las Vegas, Nevada.
24   Individual defendants are NOT required to be present in court for this hearing.
25          DATED this 9th       day of March, 2011.
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                                                  ROBERT J. JOHNSTON
28                                                United States Magistrate Judge
